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Friday, July.9, 2021

Barbara Folsom-McNeal, Chief of Police
City of Jackson, Mississippi
327 East Pascagoula Street

* Jackson, MS 39205

RE@ (dob GERD

Dear Commander Folsom-McNeal,

I am writing at the request, and with the permission of, ep TD Pesuant
to amemo dated June 25, 2021, generated by you.

Please accept this note as a summary of my consultation and psychological
assessment/evaluation (Critical Incident Stress Debriefing - CISD) secondary to a recent
critical incident involving Qj {ipl was able to meet wi on the
afternoon of July 8, 2021, where a semi-structured interview was around
the CISD guidelines offered by Joseph A. Davis, Ph.D. Formal psychological testing was
included, and will be discussed later in this update.

‘Glee Tag 25 placed on administrative leave (procedural) after his involvement in a
fatal robbery/pursuit. The date of this occurrence was April 13, 2020. After being

cleared to return to work on Monday, November 23, 2020, Comme noe to
exhibit emotional dysregulation at work on Tuesday, Novermber 24, 2020, at which time

it was recommended by the department that he be placed on paid administrative leave and
that he receive psychological treatment.

Upon interview, Qi TAmg continues to express symptoms consistent with
Posttraumatic Stress Disorder and Anxiety. He was referred to a
psychologist in Byram, for treatment, which he stated he has been compliant with.
Sh has been prescribed medication by his primary care provider, gy:

Se MD (Ridgei 3, Ms).

Wile “egg-ompleted the Millon Clinical Multiaxial Inventory — Third Edition
(MCMI-II), a psychological instrument used to isolate patterns of personality and
psychological functioning that may be of clinical interest. Based on the way he
responded to this instrument, anxiety is noted, consistent with his report. All other scores
were within normal limits and may be interpreted with confidence. Validity scales
Suggest an appropriately open, honest, and forthcoming approach to the instrument.

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Clinical scale findings revealed elevated markers for Anxiety, Somatoform, and
Dysthymia. All other scales were benign (insignificant).

Considering the ongoing nature of rted symptoms, including but not
limited to hypervigilance, increased anxiety, and his reported heightened stress state, as
Well as the symptoms described above, it is my opinion that a cmain on
administrative leave indefinately. I recommended to CD, that, as of July 8,
2021, it is my conclusion that:
* He is not fit to return to duty
~* ** He should continue to receive psychological care (psychotherapy) from -

5 * Z in Byram, MS
* He should consult with his primary care provider (Wliep MD)
_ Tegarding medication management
. He is to communicate with JPD as to when he should retum to me for re-
evaluation a
In summary QED is deemed not fit for return to duty based-on the
current consultation. .

During the CISD, adaptive and coping techniques were discussed, including processing
the event, cognitive re-framing, and breathing exercises, in an effort to expedite the

resolution of his lingering, distress, It is also recommended that continue

with his scheduled counseling appointments with” ’ a is aware
of these recommendations and concurs,

I am happy to re-evaluate regarding his psychological fitness for return to
-work at any point going forward.

Please do not hesitate to contact me directly if I may be of further assistance in this case.
Again, Commander Folsom-McNeal, I am honored to participate in

care. Please do not hesitate to contact me directly (office: 601-352-7398; cell: 601-454-
6505) if I may be of further assistance in this situation.

Gratefully,

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.c.B fli Moore, Psy.D.
‘Li Clinical Psychologist

‘oe SS

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